
82 So. 3d 910 (2011)
STATE of Florida, Appellant,
v.
Michael BELLUSCIO, Appellee.
No. 4D10-1108.
District Court of Appeal of Florida, Fourth District.
June 29, 2011.
*911 Pamela Jo Bondi, Attorney General, Tallahassee, and Sue-Ellen Kenny, Assistant Attorney General, West Palm Beach, for appellant.
Carey Haughwout, Public Defender, and Dea Abramschmitt, Assistant Public Defender, West Palm Beach, for appellee.
PER CURIAM.
We find no error in the trial court's imposition of a downward departure sentence, because the defendant met his burden of proving the requirements for a downward departure sentence, pursuant to section 921.0026(2)(d), Florida Statutes (2009), and presented unrebutted testimony that the defendant required specialized treatment for mental health disorders unrelated to substance abuse, which was not available at the Department of Corrections.
Affirmed.
STEVENSON, TAYLOR and GERBER, JJ., concur.
